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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                            10/20/2020



In re Application of
                                                                               ORDER
STENN ASSETS UK LIMITED,
                                                                            20-MC-131 (VSB)




VERNON S. BRODERICK, United States District Judge:

         The hearing scheduled for Wednesday October 21, 2020, is adjourned to Wednesday,

October 28, 2020 at 12:00 p.m. The call-in number for the hearing is 1-888-363-4749, access

code 2682448.

         In addition to the issues raised in my October 16, 2020, Order, the Applicant is directed

to be prepared to address whether the Second Circuit decision in Guo v. Deutsche Bank

Securities, 19-781 (2d Cir., July 8, 2020) is applicable to the current applications.

         The Clerk’s Office is directed to terminate docket entry 13.

SO ORDERED.

Dated:     October 20, 2020
           New York, New York

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                                                                        Vernon S. Broderick
                                                                        United States District Judge
